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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         Case No. 21-cv-21079-BLOOM/Otazo-Reyes

 SECURITIES AND EXCHANGE
 COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.
 and GUY GENTILE,

       Defendants.
 ____________________________________/

                          ORDER ON DEFAULT PROCEDURES

        THIS CAUSE is before the Court upon a sua sponte examination of the record. Plaintiff

 filed the above-captioned action on March 22, 2021, ECF No. [1]. Service of the summons and

 Complaint was executed on Defendant MintBroker International, Ltd. (“Defendant”) on October

 6, 2021, setting a response deadline of October 27, 2021. ECF No. [26]. To date, Defendant has

 failed to answer or otherwise respond to the Complaint. Accordingly, it is ORDERED AND

 ADJUDGED that

                1.    Defendant must file a response to the Complaint, through counsel, by or

                      before November 4, 2021.

                2.    If Defendant fails to file any response to the Complaint, Plaintiff shall

                      submit a Motion for Entry of Clerk’s Default with respect to Defendant no

                      later than November 15, 2021, that includes the certificate of service

                      indicating that notice of this Order was sent to Defendant, including the

                      address or addresses to which it was sent. Plaintiff’s failure to file a Motion
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                     for Entry of Clerk’s Default within the specified time may result in

                     dismissal without prejudice and without further notice as to Defendant.

              3.     The Plaintiff is directed to serve a copy of this Order upon all defaulting

                     Defendants.

        DONE AND ORDERED in Chambers at Miami, Florida, on October 28, 2021.




                                                     _________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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